                                   Case 6:22-cv-01120-ADA Document 1-5 Filed 10/26/22 Page 1 of 1
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SXUSRVHRILQLWLDWLQJWKHFLYLOGRFNHWVKHHW(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

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Cedar Lane Technologies Inc.                                                                              STMicroelectronics, Inc.

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                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                 (IN U.S. PLAINTIFF CASES ONLY)
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     F $WWRUQH\V(Firm Name, Address, and Telephone Number)                                                 $WWRUQH\V(If Known)
Rabicoff Law LLC
5680 King Centre Dr, Suite 645, Alexandria, VA 22315
7736694590
,, %$6,62)-85,6',&7,21(Place an “X” in One Box Only)                                      ,,, &,7,=(16+,32)35,1&,3$/3$57,(6 (Place an “X” in One Box for Plaintiff
                                                                                                        (For Diversity Cases Only)                                        and One Box for Defendant)
u  86*RYHUQPHQW                 u  )HGHUDO4XHVWLRQ                                                                      37) '()                                              37)     '()
        3ODLQWLII                            (U.S. Government Not a Party)                         &LWL]HQRI7KLV6WDWH         u     u         ,QFRUSRUDWHGor3ULQFLSDO3ODFH        u       u 
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        'HIHQGDQW                            (Indicate Citizenship of Parties in Item III)                                                             RI%XVLQHVV,Q$QRWKHU6WDWH

                                                                                                   &LWL]HQRU6XEMHFWRID           u     u     )RUHLJQ1DWLRQ                        u       u 
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u   1HJRWLDEOH,QVWUXPHQW                 /LDELOLW\            u +HDOWK&DUH                                                                                u 6WDWH5HDSSRUWLRQPHQW
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        ([FOXGHV9HWHUDQV           u 0DULQH3URGXFW                    /LDELOLW\                                               u 7UDGHPDUN                      &RUUXSW2UJDQL]DWLRQV
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u   )UDQFKLVH                             ,QMXU\                u 3URSHUW\'DPDJH         u 5DLOZD\/DERU$FW             u 56,  J                u 6HFXULWLHV&RPPRGLWLHV
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u   )RUHFORVXUH                  u 9RWLQJ                    u $OLHQ'HWDLQHH               ,QFRPH6HFXULW\$FW                RU'HIHQGDQW             u )UHHGRPRI,QIRUPDWLRQ
u   5HQW/HDVH (MHFWPHQW       u (PSOR\PHQW                u 0RWLRQVWR9DFDWH                                           u ,56²7KLUG3DUW\                $FW
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                                          35 U.S.C. 271, et seq.
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